       Case 2:16-cr-00198-SMJ           ECF No. 296        filed 11/08/17      PageID.1359 Page 1 of 3
 PROB 12C                                                                          Report Date: November 7, 2017
(6/16)

                                       United States District Court                              FILED IN THE
                                                                                             U.S. DISTRICT COURT
                                                                                       EASTERN DISTRICT OF WASHINGTON

                                                       for the
                                                                                        Nov 08, 2017
                                        Eastern District of Washington                      SEAN F. MCAVOY, CLERK



                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Jason M. Genge                           Case Number: 0980 2:16CR00198-SMJ-3
 Address of Offender: Address Unknown
 Name of Sentencing Judicial Officer: The Honorable Salvador Mendoza, U.S. District Judge
 Date of Original Sentence: October 17, 2017
 Original Offense:        Conspiracy to Commit Bank Fraud, 18 U.S.C. § 1349
 Original Sentence:       Prison 239 days;                  Type of Supervision: Supervised Release
                          TSR - 48 months
 Asst. U.S. Attorney:     George J. C. Jacobs, III          Date Supervision Commenced: October 20, 2017
 Defense Attorney:        Federal Defender’s Office         Date Supervision Expires: October 19, 2021


                                         PETITIONING THE COURT

                To issue a warrant.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            1           Standard Condition # 2: After initially reporting to the probation office, you will receive
                        instructions from the court or the probation officer about how and when to report to the
                        probation officer, and you must report to the probation officer as instructed.

                        Supporting Evidence: On October 26, 2017, Jason M. Genge signed his judgment for case
                        number 2:16CR00198-SMJ-3, indicating he understood all conditions ordered by the Court.
                        Specifically, Mr. Genge was made aware by his U.S. probation officer that he must report
                        as directed by his U.S. probation officer.

                        Jason Genge violated the terms of his supervised release by failing to report as directed on
                        November 1, 2017.

                        On October 31, 2017, Mr. Genge was directed to report at 2 p.m. on November 1, 2017, to
                        address his ongoing housing issue and a possible referral to the Spokane Residential Reentry
                        Center. Mr. Genge failed to report as directed on November 1, 2017. As of the date of this
                        report, Mr. Genge has failed to contact the U.S. Probation Office.
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          2      Standard Condition # 5: You must live at a place approved by the probation officer. If you
                 plan to change where you live or anything about your living arrangements (such as the
                 people you live with), you must notify the probation officer at least 10 calendar days before
                 the change. If notifying the probation officer in advance is not possible due to unanticipated
                 circumstances, you must notify the probation officer within 72 hours of becoming aware of
                 a change or expected change.

                 Supporting Evidence: On October 26, 2017, Jason M. Genge signed his judgment for case
                 number 2:16CR00198-SMJ-3, indicating he understood all conditions ordered by the Court.
                 Specifically, Mr. Genge was made aware by his U.S. probation officer that he must report
                 any change in address to his U.S. probation officer and must live at a place approved by his
                 U.S. probation officer.

                 Jason M. Genge violated the terms of his supervised release by failing to live at a place
                 approved by the U.S. Probation Office since October 26, 2017.

                 On October 26, 2017, Mr. Genge reported for intake and provided an address of 616 Villard
                 Street in Cheney, Washington. On October 30, 2017, the undersigned officer attempted to
                 make contact with Mr. Genge at his reported address. The undersigned officer spoke with
                 Nora Pollard, the owner of the residence. She stated that Mr. Genge does not reside at her
                 residence and is not allowed to reside at her residence.

                 On October 31, 2017, Mr. Genge reported to the undersigned officer and stated that he
                 resides in a trailer on the “west side of town.” He stated he lied about his residence because
                 he knew that his current residence would not be approved by U.S. Probation.
          3      Special Condition # 6: You must abstain from the use of illegal controlled substances, and
                 must submit to urinalysis and sweat patch testing, as directed by the supervising officer, but
                 no more than 6 tests per month, in order to confirm continued abstinence from these
                 substances.

                 Supporting Evidence: On October 26, 2017, Jason M. Genge signed his judgment for case
                 number 2:16CR00198-SMJ-3, indicating he understood all conditions ordered by the Court.
                 Specifically, Mr. Genge was made aware by his U.S. probation officer that he must not use
                 illegal controlled substances while on supervised release.

                 Jason M. Genge violated the terms of his supervised release by using methamphetamine, an
                 illegal controlled substance, on or about October 24, 2017.

                 Mr. Genge began his 48-month term of supervised release on October 20, 2017. On October
                 26, 2017, Mr. Genge reported to the U.S. Probation Office for his intake appointment. Mr.
                 Genge was advised that he would need to provide a urine sample prior to his departure. Mr.
                 Genge indicated that he used methamphetamine and would be positive if tested for the illicit
                 drug. Mr. Genge admitted to the undersigned officer that he consumed the illegal controlled
                 substance on or about October 24, 2017.
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                                  I declare under penalty of perjury that the foregoing is true and correct.
                                                    Executed on:     11/07/2017
                                                                     s/Patrick J. Dennis
                                                                     Patrick J. Dennis
                                                                     U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [X ]     The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ ]      Other

                                                                     Signature of Judicial Officer

                                                                            11/08/2017
                                                                     Date
